      Case 5:20-cv-00919-JKP-ESC Document 17 Filed 01/12/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


HELEN CRABTREE,                                  §
                                                 §
                  Plaintiff,                     §                 SA-20-CV-00919-JKP
                                                 §
vs.                                              §
                                                 §
ALLSTATE INDEMNITY COMPANY,                      §
                                                 §
                  Defendant.                     §

                                             ORDER

        Before the Court in the above-styled cause of action is the parties’ Joint Status Report

[#16], by which they ask the Court to extend the stay [#15], previous ordered until December 31,

2020, for approximately 60 days to allow for the completion of a reinspection of the insured

property at issue. On this day, the parties appeared through counsel for a telephonic status

conference. Based on the representations at the conference, the Court will extend the stay until

March 1, 2021, and set this case for a telephonic status conference in March 2021 to address the

issuance of a scheduling order.

       IT IS THEREFORE ORDERED that this case is STAYED until March 1, 2021.

       IT IS FURTHER ORDERED that this case is set for a telephonic status conference at

10:30 a.m. on March 5, 2021.

       The contact information for the conference is as follows:

       **Please call in 5 minutes prior to start of hearing.**

       1. Toll free number: 888-808-6929

       2. Access code: 9923187

       3. Participant Security Code: 011221



                                                 1
      Case 5:20-cv-00919-JKP-ESC Document 17 Filed 01/12/21 Page 2 of 2




If there are questions regarding the telephonic appearance, the parties should contact Valeria

Sandoval, Courtroom Deputy, at txwdml_chambers_sa_judgechestney@txwd.uscourts.gov.

       The use of speaker phones is prohibited during a telephonic appearance. Additionally,

because earlier hearings in other cases may be in progress at the time attorneys call in for their

scheduled hearing, attorneys should call in with their phones on “mute” and wait for the

Courtroom Deputy to address them before they speak.

       IT IS FINALLY ORDERED that the parties file joint proposed scheduling

recommendations in accordance with the form contained in the Court’s Order dated August 13,

2020 [#7] on or before March 3, 2021.

       SIGNED this 12th day of January, 2021.




                                     ELIZABETH S. ("BETSY") CHESTNEY
                                     UNITED STATES MAGISTRATE JUDGE




                                                2
